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                                                     Selection Criteria

Clie.Selection              Include: Baten, Oscar


Nickname            Baten, Oscar | 303
Full Name

Date           Timekeeper                                               Rate         Hours     Amount           Total
ID             Task                                               Markup %      DNB Time      DNB Amt
    6/6/2016   David N.                                               325.00           1.10     357.50      Billable
       15456   Conference
               Initial meeting with Oscar Baten to discuss potential case against Caliente
               Cab Co.

    6/9/2016 David N.                                                325.00           2.50      812.50      Billable
       15457 Research
             Research defendants and begin drafting complaint

  6/10/2016 David S.                                              400.00              0.60      240.00      Billable
      13492 Draft
            Review/edit/modify David Nieporent's draft complaint.

  6/10/2016 David N.                                                 325.00           1.70      552.50      Billable
      15458 Draft
            Finalize complaint

  7/18/2016 David S.                                              400.00          0.10           40.00      Billable
      13712 Conference
            Telephone conference with opposing counsel re: request for extension of
            time to answer complaint and stipulation in regard thereto.

  7/19/2016 David S.                                             400.00         0.10             40.00      Billable
      13725 Correspondence
            Telephone message from, and email from and to, opposing counsel re:
            request for extension of time to answer complaint and acceptance of
            service on behalf of defendants.

  7/21/2016 David S.                                             400.00             0.20         80.00      Billable
      13733 Correspondence
            Review/edit/modify opposing counsel's proposed stipulation extending time
            to answer the complaint (.1); email to opposing counsel re: the foregoing
            (.1).

  7/27/2016 David S.                                              400.00             0.20        80.00      Billable
      13793 Review
            Review/analyze affidavits of service on defendants East 33rd Street
            Restaurant and Anthony Brasco (.1); email from and to opposing counsel
            re: stipulation extending time for defendants to answer the complaint (.1).

  7/27/2016 David S.                                                125.00            0.10       12.50      Billable
      13794 Draft
            Filing via ECF affidavits of service on defendants East 33rd Street
            Restaurant and Anthony Brasco.
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Baten, Oscar: (continued)

Date           Timekeeper                                                    Rate           Hours    Amount           Total
ID             Task                                                     Markup %       DNB Time     DNB Amt
   8/18/2016   David S.                                                    400.00            1.30     520.00      Billable
       13932   Draft
               Drafting/preparing initial draft of joint letter for Judge Schofield in
               preparation for Aug. 31 initial conference (.9); preparing initial draft of case
               management plan (.4).

  8/19/2016 David S.                                               400.00            0.10              40.00      Billable
      13939 Correspondence
            Email to opposing counsel re: pre-initial conference proposed joint letter
            and case management plan.

  8/23/2016 David S.                                                400.00          0.30              120.00      Billable
      13962 Correspondence
            Emails to and from opposing counsel, and telephone conference with
            opposing counsel's associate, re: status of joint letter and proposed case
            management plan (.2); review opposing counsel's proposed additions to
            joint letter (.1).

  8/24/2016 David S.                                                  400.00             0.30         120.00      Billable
      13967 Correspondence
            Finalizing joint pre-initial conference letter to Judge Schofield (.1); emails
            to and from opposing counsel re: the foregoing (.2).

  8/24/2016 David S.                                                  125.00          0.10             12.50      Billable
      13968 Draft
            Filing via ECF joint pre-initial conference letter to Judge Schofield and
            proposed case management plan.

  8/30/2016 David S.                                                  400.00           0.60           240.00      Billable
      14000 File Review
            Conduct file review in preparation for tomorrow's initial conference before
            Judge Schofield.

  8/31/2016 David S.                                               400.00           0.40              160.00      Billable
      14001 Court
            Court appearance before Judge Schofield re: initial conference (including .2
            spent waiting in the courtroom for case to be called).

  8/31/2016 David S.                                                 200.00           1.00            200.00      Billable
      14002 Court
            Travel time to and from Southern District re: initial conference before Judge
            Schofield (BILLED AT HALF-TIME).

   9/6/2016 David S.                                                  400.00           0.30           120.00      Billable
      14027 Correspondence
            Email from and to opposing counsel re: his request to extend deadline to
            stipulate to collective action and plaintiff's settlement demand (.2); email
            from and to opposing counsel re: his proposed letter to Judge Schofield re:
            request for extension of date by which to stipulate to collective action, and
            review of foregoing letter (.1).
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Baten, Oscar: (continued)

Date           Timekeeper                                                Rate           Hours    Amount           Total
ID             Task                                                 Markup %        DNB Time    DNB Amt
   9/12/2016   David S.                                                400.00            0.10      40.00      Billable
       14063   Correspondence
               Emails to and from opposing counsel re: whether defendants will be
               stipulating to collective action and defendants' response to plaintiff's
               settlement demand.

  9/13/2016 David S.                                                 400.00              0.40     160.00      Billable
      14076 Conference
            Telephone conference with opposing counsel re: defendants' calculation of
            damages, assumptions made in regard thereto, defendants' settlement
            offer, and whether defendants will stipulate to collective certification (.3);
            email to and from opposing counsel re: when defendant Brasco sold the
            restaurant and spreadsheet of defendants' calculation of demages (.1).

  9/14/2016 David S.                                                   400.00           0.50      200.00      Billable
      14083 Conference
            Two telephone conferences with, and telephone message from, opposing
            counsel re: defendants' unwillingness to stipulate to collective certification
            proposed briefing schedule, and defendants' settlement offer of yesterday
            (.3); email to opposing counsel re: to what defendants would agree to
            stipulate in regard to collective certification (.1); emails from and to
            opposing counsel re: letter to Judge Schofield re: briefing schedule and
            review of aforementioned letter (.1).

  9/16/2016 David S.                                                400.00         0.10            40.00      Billable
      14111 Correspondence
            Email to opposing counsel re: plaintiff's discovery demands to defendants,
            Rule 26 disclosures, and letter in regard to the foregoing.

  9/16/2016 David N.                                               325.00          1.90           617.50      Billable
      15459 Review
            Review file and draft requests for admission, requests for documents, and
            interrogatories for service on defendants; prepare Rule 26 disclosures

  9/19/2016 David S.                                                   400.00          0.70       280.00      Billable
      14115 Conference
            In-person conference with client, with the assistance of Spanish
            interpreter, re: defendants' Sept. 13 settlement offer, client's rejection
            thereof, intention to move for collective certification, and his knowledge
            about how other back-of-the-house employees were paid (.6); email to
            opposing counsel re: client's rejection of defendants' settlement offer (.1).

  9/20/2016 David S.                                             400.00                 0.10       40.00      Billable
      14132 Correspondence
            Email from and to opposing counsel re: possible resolution.

  9/27/2016 David S.                                             400.00       0.30                120.00      Billable
      14216 Conference
            Telephone message from and for, and subsequent telephone conference
            with, opposing counsel re: case and possible early resolution.
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Baten, Oscar: (continued)

Date           Timekeeper                                             Rate         Hours         Amount           Total
ID             Task                                              Markup %     DNB Time          DNB Amt
   10/6/2016   David S.                                             400.00          0.10           40.00      Billable
       14273   Conference
               Emails from and to, and telephone message from and for, opposing
               counsel re: scheduling telephone conference to discuss defendants' most
               recent production of documents.

  10/7/2016 David S.                                           400.00         0.10                 40.00      Billable
      14294 Conference
            Telephone message from, and subsequent telephone conference with,
            opposing counsel re: whether we have had an opportunity to review
            additional records that he provided to us.

 10/10/2016 David S.                                             400.00            0.10            40.00      Billable
      14302 Correspondence
            Emails to and from opposing counsel re: request for extension of time to
            file our motion for collective certification.

 10/14/2016 David N.                                                 325.00            2.30       747.50      Billable
      15460 Conference
            Prepare client declaration for collective action (.8); meet with client to
            review declaration, defendants' document production, and defendants'
            discovery demands (1.5)

 10/21/2016 David N.                                             325.00            4.20         1,365.00      Billable
      15461 Draft
            Review file and prepare discovery responses to defendants' requests for
            documents and interrogatories; meeting with potential opt-in client
            Fernando Baten

 10/24/2016 David N.                                                  325.00            2.10      682.50      Billable
      15462 Review
            Review defendants' responses to discovery

 10/26/2016 David S.                                                  400.00             0.10      40.00      Billable
      14396 Conference
            Telephone conference with opposing counsel re: new plaintiff's wanting to
            join the case and, therefore, our inability to settle the case at this time.

 10/26/2016 David S.                                               125.00               0.10       12.50      Billable
      14397 Draft
            Filing via ECF consent to sue on behalf of opt-in Fernando Baten.

 10/28/2016 David N.                                                325.00              1.60      520.00      Billable
      15463 Prep Pleadings
            Prepare motion for collective certification and all supporting papers

  11/2/2016 David S.                                              400.00         0.20              80.00      Billable
      14522 Correspondence
            Emails from and to opposing counsel re: his request for extension of
            collective action motion briefing schedule and our concern about the
            discovery end date and the judge's statement that she would not extend
            that.
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Date         Timekeeper                                               Rate           Hours       Amount           Total
ID           Task                                                 Markup %        DNB Time      DNB Amt

  11/3/2016 David S.                                                   400.00            0.10      40.00      Billable
      14533 Correspondence
            Emails from and to opposing counsel re: his request for extension of time
            to file opposition to motion for collective certification and due date for our
            reply papers.

  11/7/2016 David S.                                               400.00            0.10          40.00      Billable
      14542 Correspondence
            Email to opposing counsel re: his writing to the judge to request modified
            briefing schedule.

  11/9/2016 David S.                                                400.00           0.20          80.00      Billable
      14555 Correspondence
            Review of letter filed by opposing counsel to Judge Schofield re: modified
            briefing schedule for opposition and reply for motion for collective
            certification (.1). emails to and from opposing counsel re: mistake that he
            made in foregoing letter to Judge Schofield, and the need for him to write
            again to the judge to correct the same (.1).

 11/29/2016 David S.                                             125.00            0.10            12.50      Billable
      14654 Draft
            Filing via ECF reply memorandum of law in support of motion for collective
            certification.

 11/29/2016 David N.                                            325.00                  0.90      292.50      Billable
      15464 Prep Pleadings
            Review defendants' opposition and prepare reply papers in support of
            collective certification motion

  12/5/2016 David S.                                                 400.00           0.40        160.00      Billable
      14686 Conference
            Telephone conference with Judge Schofield's chambers re: providing
            courtesy copy of fully-briefed motion for collective certification (.1);
            drafting/preparing letter to Judge Schofield re: the foregoing courtesy copy
            (.3).

  12/6/2016 David S.                                                400.00            0.90        360.00      Billable
      14689 Draft
            Drafting/preparing notices of deposition for defendants Caliente Cab and
            Anthony Brasco, as well as letter to opposing counsel re: foregoing
            notices and responsibilities of 30(b)(6) deponent in regard to preparation for
            the deposition (.8); email to opposing counsel re: foregoing notices of
            deposition and letter to opposing counsel (.1).

  12/7/2016 David S.                                                400.00         0.10            40.00      Billable
      14710 Correspondence
            Emails from and to opposing counsel re: deposition notices directed to
            plaintiffs and our unavailability on the date selected.
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Date           Timekeeper                                              Rate         Hours      Amount           Total
ID             Task                                              Markup %        DNB Time     DNB Amt
   12/8/2016   David N.                                              325.00          0.90       292.50      Billable
       15465   Conference
               Meeting with client Oscar Baten to prepare him for his deposition

 12/15/2016 David S.                                                   400.00          0.30     120.00      Billable
      14761 Correspondence
            Review/edit/modify David Nieporent's draft response to opposing counsel's
            letter of yesterday re: objection and clarification prior to deposition of
            defendants' 30(b)(6) designee (.2); email to opposing counsel re: foregoing
            responsive letter (.1).

 12/15/2016 David N.                                             325.00               0.70      227.50      Billable
      15466 Conference
            Meeting with client Fernando Baten to prepare him for his deposition

 12/16/2016 David N.                                                325.00            3.20    1,040.00      Billable
      15467 Preparation
            Review file and prepare deposition outline

 12/19/2016 David S.                                            400.00                1.60      640.00    No Charge
      14784 Deposition                                                                1.60      640.00
            Second chair depositions of defendants Caliente Cab and Brasco.

 12/19/2016 David N.                                          325.00                  2.30      747.50      Billable
      15468 Deposition
            Take deposition of defendants Anthony Brasco and East 33rd Street
            Restaurant Corp.

 12/21/2016 David S.                                                 400.00            3.30   1,320.00      Billable
      14795 Deposition
            Conduct file review in preparation for depositions of plaintiff Oscar Baten
            and opt-in Fernando Baten (.7); email to and from opposing counsel re: my
            being a few minutes late to the depositions (.1); defendant depositions of
            plaintiff Oscar Baten (2.0) and Fernando Baten (.5).

  1/16/2017 David S.                                            400.00             0.10          40.00      Billable
      14906 Correspondence
            Email from and to opposing counsel re: whether the parties are interested
            in participating in a settlement conference.

  1/17/2017 David S.                                                400.00            0.20       80.00      Billable
      14914 Correspondence
            Emails from and to opposing counsel re: defendants' agreement to
            participate in a settlement conference, letter in regard thereto, tomorrow's
            status conference before Judge Schofield and rescheduling the same, and
            review of aforementioned letter to Judge Schofield.

  1/20/2017 David S.                                                400.00          1.40        560.00      Billable
      14946 Conference
            Conduct file review in preparation for today's telephone post-discovery
            status conference with Judge Schofield (.3); post-discovery telephone
            conference with Judge Schofield (including .7 spent waiting for case to be
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Baten, Oscar: (continued)

Date         Timekeeper                                               Rate          Hours    Amount           Total
ID           Task                                               Markup %       DNB Time     DNB Amt
             called) (.8); three ttelephone conferences with Magistrate Judge Francis'
             law clerk re: possible dates for conducting settlement conference (.2);
             emails to and from opposing counsel re: the foregoing (.1).

  1/23/2017 David S.                                                 400.00         0.40      160.00      Billable
      14954 Correspondence
            Drafting/preparing letters to plaintiff Oscar Baten and opt-in Fernando
            Baten re: Mar. 1 settlement conference with Magistrate Judge Francis and
            instructions and details in regard thereto.

  1/24/2017 David S.                                               400.00          0.30       120.00      Billable
      14957 Conference
            In-person conference with plaintiff Oscar Baten and opt-in Fernando Baten,
            and Spanish interpreter, re: Mar. 1 settlement conference with Magistrate
            Judge Francis and details and instructions in regard thereto.

  2/14/2017 David S.                                             400.00          0.10          40.00      Billable
      15075 Correspondence
            Emails from and to opposing counsel re: opt-in Fernando Baten's dates of
            employment and amount of damages owed to him.

  2/27/2017 David N.                                             325.00             1.80      585.00      Billable
      15469 Draft
            Prepare ex parte settlement position statement for Magistrate Judge
            Francis

  2/28/2017 David S.                                               400.00           0.30      120.00      Billable
      15185 Conference
            Telephone message for and from, emails from and to, telephone and
            conference with, opposing counsel re: plaintiffs' reduced settlement
            demand and derivation of calculations in regard thereto.

   3/1/2017 David S.                                                400.00           3.30   1,320.00      Billable
      15191 Court
            Conduct file review in preparation for today's settlement conference before
            Magistrate Judge Francis (.9); in-person conference with David Nieporent,
            Esq., in preparation for today's settlement conference (.3); court
            appearance before Magistrate Judge Francis re: settlement conference
            (2.0); preparing consent to magistrate judge form, and email the same to
            opposing counsel (.1).

   3/1/2017 David S.                                               200.00           1.00      200.00      Billable
      15192 Court
            Travel time to and from Southern District re: court appearance before
            Magistrate Judge Francis (BILLED AT HALF-TIME).

   3/3/2017 David S.                                             400.00          0.10          40.00      Billable
      15200 Correspondence
            Email from and to opposing counsel re: execution of consent to magistrate
            judge form.
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Date           Timekeeper                                            Rate       Hours       Amount           Total
ID             Task                                             Markup %     DNB Time      DNB Amt
    3/3/2017   David S.                                            125.00        0.10         12.50      Billable
       15201   Draft
               Filing via ECF consent to magistrate judge form.

   3/3/2017 David N.                                              325.00           1.40      455.00      Billable
      15470 Draft
            Prepare first draft of settlement agreement

   3/6/2017 David S.                                              400.00           0.70      280.00      Billable
      15217 Review
            Review/edit/modify David Nieporent's draft settlement agreement (.6); email
            to opposing counsel re: settlement agreement (.1).

  3/16/2017 David S.                                              400.00           0.10       40.00      Billable
      15268 Correspondence
            Emails to and from opposing counsel re: status of his review of the
            settlement agreement.

  3/22/2017 David S.                                              400.00           0.10       40.00      Billable
      15294 Correspondence
            Emails to and from opposing counsel re: status of his review of settlement
            agreement.

   4/3/2017 David S.                                           400.00              0.40      160.00      Billable
      15358 Review
            Review/edit/modify opposing counsel's proposed changes to the
            settlement agreement.

   4/4/2017 David S.                                               400.00           0.30     120.00      Billable
      15368 Correspondence
            Email to opposing counsel re: our review of defendants' proposed changes
            to settlement agreement (.2); emails from and to M.J. Francis' law clerk re:
            status of settlement agreement and fairness letter (.1).

   4/6/2017 David S.                                                400.00         0.50      200.00      Billable
      15391 Conference
            Emails from and to, and telephone conference with, opposing counsel re:
            final, unresolved term of settlement agreement - due date of initial
            installment payment (.3); review of opposing counsel's proposed revision to
            the settlement agreement re: foregoing issue (.1); email to opposing
            counsel re: final version of settlement agreement (.1).

  4/19/2017 David S.                                             400.00            0.30      120.00      Billable
      15408 Correspondence
            Emails from and to opposing counsel re: defendants' execution of
            settlement agreement and refusal to sign confession of judgment at this
            time.

  4/20/2017 David S.                                              400.00           0.30      120.00      Billable
      15418 Conference
            Telephone message for, and subsequent telephone conference with,
            opposing counsel re: defendants' failure to execute confession of judgment
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Date           Timekeeper                                                 Rate            Hours    Amount           Total
ID             Task                                                 Markup %        DNB Time      DNB Amt
               (.2); email from and to opposing counsel re: proposed letter to M.J. Francis
               requesting additional time to file fairness papers, and review of letter in
               regard thereto (.1).

  4/25/2017 David S.                                             400.00           0.10               40.00      Billable
      15453 Correspondence
            Emails to and from opposing counsel re: status of defendants' execution of
            confession of judgment.

  4/26/2017 David N.                                                   325.00             1.50      487.50      Billable
      15471 Draft
            Prepare fairness letter for court


TOTAL          Billable Fees                                                             54.30               $18,925.00
               No Charge                                                                  1.60     $640.00


Date           Timekeeper                                               Price        Quantity      Amount           Total
ID             Expense                                              Markup %
    7/7/2016   David S.                                                400.00            1.000      400.00      Billable
       13493   Filing Fee
               Complaint filing fee.

  7/18/2016 David S.                                             125.00          1.000              125.00      Billable
      13792 Service Fee
            Fee for service of process on defendants East 33rd Street Restaurant and
            Anthony Brasco.

  8/31/2016 David S.                                                  5.50          1.000             5.50      Billable
      14003 Travel
            Subway fare to and from Southern District re: initial conference before
            Judge Schofield.

 12/19/2016 David S.                                            590.20         1.000                590.20      Billable
      14900 Depo. Cost
            Costs for depositions of defendants Anthony Brasco and Caliente Cab.

   3/1/2017 David S.                                                5.50         1.000                5.50      Billable
      15193 Travel
            Subway fare to and from Southern District re: court appearance before
            Magistrate Judge Francis.

   3/1/2017 David S.                                               70.00          1.000              70.00      Billable
      15194 Interpretation/Translation
            Fee for Spanish interpreter at settlement conference before Magistrate
            Judge Francis ($35.00/hr. x 2 hrs.).
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                                                                           Amount           Total


TOTAL         Billable Costs                                                            $1,196.20


                                                                           Amount           Total

Total of Fees (Time Charges)                                                         $18,925.00

Total of Costs (Expense Charges)                                                        $1,196.20


Total new charges                                                                    $20,121.20

New Balance
Current                                                                 $20,121.20

Total New Balance                                                                    $20,121.20
